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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION




HERMOGENES FERNANDEZ,


v.                                      Case No. 8:05-cr-26-T-17TBM
                                                 8:09-cv-1120-T-17TBM

UNITED STATES OF AMERICA.



                                         ORDER

       This cause is before the Court on Defendant Fernandez's filing entitled "Motion To

Amend Judgment Nunc Pro Tunc" which the Court construes as a 28 U.S.C. § 2255

motion to vacate, set aside, or correct an allegedly illegal sentence. (Doc. cv-1; cr-321).

Because review "of the motion and the file and records of the case conclusively show that

the defendant is entitled to no relief," the Court will not cause notice thereof to be served

upon the United States Attorney but shall proceed to address the matter. See 28 U.S.C.

§ 2255.

                       Construed Motion To Vacate Is Time-Barred

       On April 24, 1996, a substantial amendment to 28 U.S.C. § 2255 became effective.

That amendment, § 105 of the Antiterrorism and Effective Death Penalty Act of 1995

("AEDPA"), Pub. L. No. 104-132, 110 Stat. 1214, established a one-year "period of

limitation" for the filing of a § 2255 motion, to run from the latest of: 1) the date on which

the judgment of conviction becomes final; 2) the date any unconstitutional government

impediment, if any, precluding the movant from making a motion is removed; 3) the date
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on which the right asserted was initially recognized by the United States Supreme Court;

or 4) the date on which the facts supporting the claim could have been discovered through

the exercise of due diligence. 28 U.S.C. § 2255, as amended by Pub. L. No. 104-132, Title

1, § 105 (Apr. 24, 1996).

        For final judgments entered after the effective date of the AEDPA, or April 24, 1996,

as in this case, the statute of limitations begins to run on the date the district court's

judgment becomes final. If a Defendant does not file an appeal, a conviction becomes

"final" when the time for doing so has expired. See Adams v. United States, 173 F.3d 1339,

1342 (11th Cir. 1999) (when defendant does not pursue direct appeal, conviction becomes

final when time for filing a direct appeal expires).

        In the present case, Fernandez's judgment was entered October 14, 2005. He did

not file a direct appeal. He did not file his present construed 28 U.S.C. § 2255 until June

3, 2009. Clearly, the filing is time-barred.

        Fernandez has not alleged any extraordinary circumstances that entitle him to

equitable tolling.

        Accordingly, the Court orders:

        That Fernandez's construed motion to vacate (Doc. cv-1;cr-321) is denied. The

Clerk is directed to enter judgment against Fernandez in the civil case and to close that

case.

                         CERTIFICATE OF APPEALABILITY AND
                     LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal


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a district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the applicant

has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2).

To make such a showing, Defendant “must demonstrate that reasonable jurists would find

the district court's assessment of the constitutional claims debatable or wrong,” Tennard

v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

or that “the issues presented were ‘adequate to deserve encouragement to proceed further,

’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

880, 893 n. 4 (1983)). Defendant has not made the requisite showing in these

circumstances.

       Finally, because Defendant is not entitled to a certificate of appealability, he is not

entitled to appeal in forma pauperis.

       ORDERED at Tampa, Florida, on June 23, 2009.




AUSA: Anthony Edward Porcelli
Hermogenes Fernandez




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